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                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND
                                          (NORTHERN DIVISION)
---------------------------------------------------------------x
 In the Matter of The Petition of

 GRACE OCEAN PRIVATE LIMITED, as Owner                            Docket No: 1:24-cv-00941
 of the M/V DALI,
                                                                  IN ADMIRALTY
                  And

 SYNERGY MARINE PTE LTD, as Manager of the
 M/V DALI,

 For Exoneration from or Limitation of Liability.
 -------------------------------------------------------------x

                                       ENTRY OF APPEARANCE

TO THE CLERK OF COURT:

        Kindly enter the appearances of Hugh Marbury, of the law firm Cozen O’Connor, on
behalf of the Claimant, Ace American Insurance Company as subrogee of the Maryland
Transportation Authority for its Claim in the above-captioned action for all purposes as counsel
and requests that all further pleadings and other materials relevant to this action, be served upon
said attorney.

Dated this 20th day of June 2024

                                                              Respectfully submitted,

                                                              COZEN O’CONNOR


                                                              /s/ Hugh Marbury______________
                                                              Hugh Marbury, Esq. (Bar# 24653)
                                                              1200 19th Street NW
                                                              Washington, DC 20036
                                                              (202) 747-0781
                                                              HMarbury@cozen.com
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                                 CERTIFCATE OF SERVICE


       I hereby certify that on June 20, 2024, a copy of the foregoing Entry of Appearance and

Certificate of Service was electronically filed and served by operation of the Court’s electronic

filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.




                                                     /s/ Hugh J. Marbury______________
                                                     Hugh Marbury, Esq.




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